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8                                        UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
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12   MARE ISLAND DRY DOCK, LLC                                Case No. 2:17-cv-01457-MCE-KJN
13                                                            ORDER GRANTING JOINT
14                      Plaintiff,                            STIPULATION TO DISMISS ACTION
                                                              WITH PREJUDICE PURSUANT TO
15                                                            FRCP 41(a)(1)(A)(ii)
16             v.
17
18   FOSS MARITIME COMPANY, a corporation,
     in personam, and the PACIFIC STAR, her
19   machinery, tackle, and engines, etc., in rem,
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                        Defendants.
21                                                            Complaint Filed: July 13, 2017

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     ORDER GRANTING JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE PURSUANT TO FRCP 41(A)(1)(A)(II)
     Case No.: 2:17-cv-01457-MCE-KJN; Our File: 5809.67
        Case 2:17-cv-01457-MCE-KJN Document 12 Filed 09/17/18 Page 2 of 2


1             The Court, having considered the parties’ Joint Stipulation to Dismiss Action with Prejudice

2    pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(ii) and good cause appearing, hereby

3    dismisses the action with prejudice, each party to bear its own fees and costs. The matter having

4    now been concluded in its entirety, the Clerk of Court is directed to close the file.

5             IT IS SO ORDERED.

6    Dated: September 16, 2018

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     ORDER GRANTING JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE PURSUANT TO FRCP 41(A)(1)(A)(II)
     Case No.: 2:17-cv-01457-MCE-KJN; Our File: 5809.67
